                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           No. 2:04-00017
                                               )           JUDGE CAMPBELL
LORENZO McMILLION                              )


                                            ORDER

       Pending before the Court is the Defendant’s Motion To Continue (Docket No. 190) the

revocation hearing in this case, currently scheduled for January 24, 2013. The Motion is

GRANTED. Accordingly, the revocation hearing is CONTINUED until March 22, 2013, at 2:30

p.m.

       It is so ORDERED.

                                                    ______________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




 Case 2:04-cr-00017        Document 191       Filed 01/23/13     Page 1 of 1 PageID #: 660
